        Case 8-18-71102-las              Doc 22        Filed 08/07/18    Entered 08/07/18 10:38:05




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                                  Chapter 7

Howard W. Schwartz aka
Howard William Schwartz,                                                Case No. 8-18-71102-las

                             Debtor.
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                   ORDER AUTHORIZING THE TRUSTEE TO ISSUE
               SUBPOENAS FOR THE PRODUCTION OF DOCUMENTS AND
                AUTHORIZING THE TRUSTEE TO EXAMINE THE DEBTOR

         Upon the ex parte motion, dated August 6, 2018 (the “Motion”), of Richard L. Stern,

Esq., as Chapter 7 Trustee (the “Trustee”) of the estate of the above captioned debtor, Howard

W. Schwartz, pursuant to Bankruptcy Rule 2004, for an order authorizing the Trustee to

issue subpoenas for the production of documents and to examine Howard W. Schwartz (the

“Witness”); and this Court having jurisdiction to consider the Motion and the relief requested

therein in accordance with 28 U.S.C. § 1334; and consideration of the Motion and the relief

requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being

proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

determined that the relief requested in the Motion is in the best interests of the debtor’s

estate, creditors and other parties-in-interest; and the Court having determined that the

legal and factual bases set forth in the Motion establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor; it is

         ORDERED that the Motion is granted on the terms set forth herein; and it is further

         ORDERED that the Trustee is authorized under Bankruptcy Rules 2004 and 9016, to

issue such subpoenas as may be necessary to compel the production of documents and the




                                                             1
      Case 8-18-71102-las      Doc 22    Filed 08/07/18     Entered 08/07/18 10:38:05




testimony of the Witness in connection with the administration of this Chapter 7 case; and it

is further

       ORDERED that unless otherwise agreed to by the Trustee, the Witness shall have

fourteen (14) days from the service of a subpoena to either (1) produce to the Trustee all

responsive documents requested in the Trustee’s subpoena, other than those documents

withheld under a claim of privilege or (2) file with this Court an objection or response to the

subpoena with a hearing promptly scheduled; and it is further

       ORDERED that unless otherwise agreed to by the Trustee, if the Witness withholds

any documents from the production based upon a claim of privilege, the Witness is directed

to provide counsel for the Trustee with a privilege log, containing the information required

under Bankruptcy Rule 7026 and E.D.N.Y. L.B.R. 7026-1, within fourteen (14) days of the

service of a subpoena on the Witness; and it is further

       ORDERED that the Witness is directed to submit to oral examination upon

reasonable notice and, absent other agreement with the Trustee, in no event more than

fifteen (15) days from the date of the service of a deposition subpoena upon the Witness; and

it is further

       ORDERED that nothing herein shall limit the rights of the Witness under applicable

law to object to or oppose any subpoena the Trustee may serve upon the Witness; and it is

further

       ORDERED that in accordance with Bankruptcy Rules 2004 and 9016, (i) the Clerk of

this Court shall issue subpoenas, signed, but otherwise in-blank, as requested by the Trustee,

or (ii) provided that counsel for the Trustee is authorized to practice in this Court, counsel

may issue and sign the subpoenas; and it is further

       ORDERED that the Trustee shall file with the Court an affidavit or declaration of

service for each subpoena he serves; and it is further


                                              2
      Case 8-18-71102-las      Doc 22     Filed 08/07/18   Entered 08/07/18 10:38:05




       ORDERED that this Order is without prejudice to the Trustee’s right to file further

motions seeking additional documents and testimony pursuant to Bankruptcy Rule 2004(a)

or any other applicable law; and it is further

       ORDERED that this Court shall retain jurisdiction to resolve any disputes arising or

related to this Order including any discovery disputes that may arise between or among the

parties and to interpret, implement and enforce the provisions of this Order.




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 Dated: August 7, 2018                                            Louis A. Scarcella
        Central Islip, New York                            United States Bankruptcy Judge


                                                 3
